         Case 4:07-cv-05944-JST Document 729 Filed 06/23/10 Page 1 of 2




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     IRICO GROUP CORPORATION
12

13                               UNITED STATES DISTRICT COURT

14                           NORTHERN DISTRICT OF CALIFORNIA

15                                  SAN FRANCISCO DIVISION

16
                                                    )
17   IN RE: CATHODE RAY TUBE (CRT)                  )   Case No.: C07-5944 SC
     ANTITRUST LITIGATION                           )
18                                                  )   MDL NO. 1917
                                                    )
19                                                  )   MOTION FOR LEAVE TO
     This Document Relates To:                      )   WITHDRAW OF PILLSBURY
20                                                  )   WINTHROP SHAW PITTMAN LLP
     ALL ACTIONS                                    )
21                                                  )
22           Pursuant to Local Rule 11-5, Terrence E. Callan, Joseph R. Tiffany II, and Philip A.
23   Simpkins of Pillsbury Winthrop Shaw Pittman LLP (“Pillsbury”), attorneys of record for
24   Irico Display Devices Co., Ltd. and Irico Group Corporation (the “Irico Entities”), hereby
25   move this Court to permit Pillsbury to withdraw as attorneys of record for the Irico Entities
26   on the following grounds:
27

28
     702124890v1                                  -1-                          PILLSBURY’S MOTION FOR
                                                                                   LEAVE TO WITHDRAW
                                                                       Case No. C07-5944 SC; MDL NO. 1917
         Case 4:07-cv-05944-JST Document 729 Filed 06/23/10 Page 2 of 2




 1           1.     At the request of the Irico Entities, Pillsbury ceased its representation of the

 2   Irico Entities in May 2009, but continued to forward the Irico Entities information

 3   regarding the case status, filings and deadlines. Declaration of Joseph R. Tiffany II in

 4   Support of Pillsbury Winthrop Shaw Pittman LLP’s Motion for Leave to Withdraw

 5   (“Tiffany Decl.”) paragraph 2.

 6           2.     On April 28, 2010, Pillsbury provided written notice to the Irico Entities of

 7   its intention to move for leave to withdraw as counsel. Tiffany Decl., ¶ 3.

 8           3.     On June 18, 2010, Pillsbury provided written notice to the other parties that

 9   have appeared in this case of its intention to move for leave to withdraw as counsel for the

10   Irico Entities. Tiffany Decl., ¶ 4.

11           4.     Pursuant to Local Rule 11-5(b), if the Court so directs, Pillsbury will

12   continue to accept service of papers on behalf of the Irico Entities and to forward such

13   papers to the Irico Entities in accordance with Local Rule 11-5(b) until substitute counsel

14   appears on behalf of the Irico Entities. In its April 28, 2010 notice, Pillsbury informed the

15   Irico Entities that the Court may require that Pillsbury continue to accept service for the

16   Irico Entities in accordance with Local Rule 11-5(b). Tiffany Decl., ¶ 5.

17           5.     Pillsbury’s withdrawal will not result in any prejudice to any other litigant or

18   any harm to the administration of justice, and it will not cause any delay in the resolution of

19   this case.

20

21   Dated: June 23, 2010

22                                             PILLSBURY WINTHROP SHAW PITTMAN LLP

23

24
                                               By          /s/ Joseph R. Tiffany II
25                                                   Joseph R. Tiffany II

26                                                   Attorneys for Defendants
                                                     IRICO DISPLAY DEVICES CO., LTD. and
27                                                   IRICO GROUP CORPORATION

28
     702124890v1                                    -2-                         PILLSBURY’S MOTION FOR
                                                                                    LEAVE TO WITHDRAW
                                                                        Case No. C07-5944 SC; MDL NO. 1917
